Case 1:25-mj-00142-JCN Document1-1 Filed 04/16/25 Pagelof3 PagelD#: 2

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Vincent Conarroe, depose and make this affidavit in support of a complaint for
violation of Title 8, United States Code, Section 1325 by Ruibo PAN. I am a Border Patrol
Agent with the United States Border Patrol. I am stationed at the Fort Fairfield Border
Patrol Station in Fort Fairfield, Maine. I have been an employee of the United States
Border Patrol since October 2005. I successfully graduated from the Border Patrol
Academy in March 2006. Prior to being stationed at Fort Fairfield Station, I was a Border
Patrol Agent at the Douglas Station in Douglas, Arizona. I base this affidavit on my own
investigation as well as discussions with other agents and/or reading of investigative
reports and other materials.

1. On the evening of April 14, 2025, I was performing patrol duties in the
Fort Fairfield area. I received information from Border Patrol Agent Adam Hess that he
had detained two individuals in the area and he had developed information indicating
that another person might be trying to enter the country unlawfully from Canada in the
vicinity of Limestone Road in Fort Fairfield. Based on my work in Fort Fairfield, I know
this location is very close to the Canadian border and has been used by people in the
past attempting to enter the country illegally. Accordingly, I proceeded to the location.

2, At approximately 11:00 p.m. while driving east on Limestone Road near
the intersection with Lundy Road, I observed a piece of luggage near the side of the
road. I had driven through this area approximately 30 minutes earlier and had not seen
the luggage. I stopped my vehicle and inspected the luggage, which was a gray suitcase
with an airline tag on it for Cathay Pacific Airlines. The tag had the name “Pan” on it.

3. At approximately 11:00 p.m., while driving east on Lundy Road near the
intersection with Russell Road, I observed a piece of luggage near the side of the road. I

1
Case 1:25-mj-00142-JCN Document1-1 Filed 04/16/25 Page2of3 PagelD#: 3

followed the footprints eastbound on the side of Lundy Road back to the international
border (the “slash”) and located footprints where the subject had crossed into the
United States from Canada. The location where the subject had illegally entered the
United States from Canada was where Lundy Road intersects with Russell Road at the
slash. Based on the footwear impressions I observed, it appeared the person was
wearing Converse style shoes.I advised the Houlton Sector Communications Center
(BSCC) to contact the Royal Canadian Mounted Police (RCMP) and inform them of the
entry and advise them the subject was possibly still in the area. I continued to search the
area for the subject.

4. On April 15, 2025, at approximately 1:40 a.m., I was giving another agent
who had assisted in my search a ride back to his service vehicle that was parked on
Limestone Road. As I approached his vehicle, I observed a person standing in a field
approximately 50 yards from Limestone Road. I parked my service vehicle, approached
the subject and identified myself as a Border Patrol Agent. The subject later identified as
Ruibo PAN had sticks and burdocks stuck to his jacket and clothes. His shoes were also
muddy and wet. It appeared to me that he had walked through the woods, thick brush,
and mud bogs in the area. I asked the subject what his name was, and he stated Ruibo
PAN. I asked PAN if he spoke English, and PAN said he spoke a little. I observed that
PAN was wearing Converse shoes with a tread pattern that appeared to match the
footprints from near the luggage I had located earlier and I recalled that the luggage had
an airline ticket on it bearing the name “Pan.” Based on this information, I detained
PAN for further investigation into his immigration status, as he appeared to be the

subject who illegally crossed into the United States from Canada near Lundy Road.
Case 1:25-mj-00142-JCN Document1-1 Filed 04/16/25 Page3of3 PagelD#: 4

5. During my field inspection with PAN, I discovered he was in possession of
his Chinese Passport and that he did not have any documentation allowing him to be in
or remain the united States legally. PAN admitted to me that he had illegally entered the
United States. PAN was then transported to the station for further processing.

6. Processing revealed no record that PAN had been inspected or admitted by
an immigration officer at a designated Port of Entry in Aroostook County. In sum, PAN
is a Chinese national apprehended in the United States not far from the Canadian
border and he lacked proper documentation to enter, pass through, or remain in the
United States.

7. PAN was offered an opportunity to speak to the Chinese Consulate but
declined the offer.

Based on my training and experience, and supported by the foregoing facts, I have
probable cause to believe that Ruibo PAN has violated Title 8, United States Code,
Section 1325.

I, Vincent Conarroe, hereby swear under oath that the information set forth in
this affidavit is true and correct to the best of my knowledge, information, and belief, and

that I make this oath under pains and penalties of perjury.

Dated at Bangor, Maine, this 16" day of April 202¢

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Vincent Conarroe,
Border Patrol Agent
United States Border Patrol

Sworn to telephonically and signed
electronically in accordance with the

requirements of Rule 4.1 of the Federal Rules
of Criminal Procedure [
Apr 16 2025 1~
Date:
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City and state: Bangor, ME John C. ni son U.S. Magistrate Judge

Printed name and title
